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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )      Criminal No. 3:10CR170-23-HEH
                                          )
LESLIE WERTH                              )

                             MEMORANDUM OPINION
                         (Denying Sentence Reduction Motion)

       Leslie Werth, a federal prisoner proceeding pro se, filed a "Sentence Reduction

Motion Based On The Supreme Court Decision Alleyne v. United States, 133 S. Ct. 2151

([ ] 2013)" ("Sentence Reduction Motion," ECF No. 1043.) Werth argues for a sentence

reduction under 18 U.S.C. § 3582 pursuant to Alleyne. (Mot. 1.) Werth contends that

Alleyne entitles him to "a sentence reduction to correct a sentence anomaly that was

based on the preponderance of the evidence scheme, [sic] that was used to enhance

Petitioner fifty to sixty four months on an acquittal count that was found by a reasonable

doubt, that Petitioner was innocent of that count." (Id.) Werth fails to identify any

portion of 18 U.S.C. § 3582(c) that authorizes a reduction in or alteration of his sentence

at this time.


       Once a defendant is sentenced, the Court has no inherent authority to reconsider

the defendant's sentence. See United States v. Goodwyn, 596 F.3d 233, 235 (4th Cir.

2010) (quoting United States v. Cunningham, 554 F.3d 703, 708 (7th Cir. 2009)). To the

extent Hargrove wishes to file a motion for a reduction in sentence under 18 U.S.C. §

3582, he may not raise challenges to his original sentence in such a motion. See United
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States v. Dawkins, 535 F. App'x 307, 308 (4th Cir. 2013) (explaining that challenges to

an original conviction and sentence "are not cognizable in a § 3582 proceeding" (citing

UnitedStates v. Hernandez, 645 F.3d 709, 712 (5th Cir. 2011))). Motions made by

defendants under 18 U.S.C. § 3582 may only raise issues related to retroactive

amendments to the United States Sentencing Guidelines. See 18 U.S.C. § 3582(c)(2);

UnitedStates v. Mann, 435 F. App'x 254, 255 (4th Cir. 2011)

       At this late date, the Court has very limited jurisdiction to alter or correct a

criminal conviction or sentence. A motion pursuant to 28 U.S.C. § 2255 provides the

primary means of collateral attack on the imposition of a federal conviction and sentence.

See Pack v. Yusuff, 218 F.3d 448, 451 (5th Cir. 2000) (citing Cox v. Warden, Fed. Det.

Ctr., 911 F.2d 1111, 1113 (5th Cir. 1990)).      If Werth wishes to invoke this Court's

jurisdiction under 28 U.S.C. § 2255, he must do so unequivocally and in accordance with

the rules governing such actions. Cf. United States v. Blackstock, 513 F.3d 128, 132-33

(4th Cir. 2008) (explaining that the district court must advise inmates of the consequences

of filing a § 2255 motion prior to converting a mislabeled postconviction motion into a

motion pursuant to § 2255). Any motion under 28 U.S.C, § 2255 must conform to the

form prescribed by the rules governing such motions and be sworn to under penalty of

perjury.   See Rule 2(b), Rules Governing § 2255 Proceedings for the U.S. District

Courts. The Court will process a request for relief under 28 U.S.C. § 2255 upon receipt

from Werth of the properly completed forms seeking such relief.
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      Because Werth fails to identify any procedural vehicle which authorizes the action

he seeks, his Sentence Reduction Motion (ECF No. 1043) will be DENIED.

      An appropriate Order will accompany this Memorandum Opinion.



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                                               M             /s/
                                               HENRY E. HUDSON
Date: IL^M^Y                                   UNITED STATES DISTRICT JUDGE
Richmond, Virginia
